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                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                               ORDER
                           Plaintiff,
                                                              08-cr-87-bbc
             v.

PRINCE P. BECK,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      Defendant Prince P. Beck filed a “Motion for New Trial Under Fed. R. Crim. P. 33(b)

Based on Newly Discovered Evidence” on April 22, 2011, in which he alleged that the

government’s key witnesses at trial lacked credibility and that the United States Attorney

should not have called them as witnesses. In an order signed on May 19, 2011, I construed

the motion as one brought under § 2255 and gave defendant until June 27, 2011 in which

to advise the court whether he wanted to withdraw the motion or proceed with it.

Defendant has written back, saying that he wants to withdraw his Rule 33(b) motion, but

questions whether he can file a motion for post conviction relief under 28 U.S.C. § 2255

while his petition for a writ of certiorari is pending in the United States Supreme Court.

Defendant’s request for withdrawal of his motion will be granted. The Supreme Court


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denied his petition on May 23, 2011, so he has one year from then in which to file a § 2255

motion.

                                         ORDER

       IT IS ORDERED that defendant Prince P. Beck’s motion for a new trial under Rule

33 is DISMISSED.

       Entered this 3d day of June, 2011.

                                            BY THE COURT:
                                            /s/
                                            BARBARA B. CRABB
                                            District Judge




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